                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
               Plaintiff,                        )
                                                 )
               v.                                )          No. 12-00268-07-CR-W-DGK
                                                 )
LEVAR EUGENE FLETCHER,                           )
                                                 )
               Defendant.                        )

                            ACCEPTANCE OF PLEA OF GUILTY AND
                                 ADJUDICATION OF GUILT

       Pursuant to the Amended Report and Recommendation of the United States Magistrate Judge

(Doc. 356), to which there has been no timely objection, the plea of guilty by the Defendant to the

lesser included offense in Count One and to Count Two of the Superseding Indictment filed on

December 12, 2012, is now accepted and the Defendant is adjudged guilty of such offenses.

Sentencing will be set by subsequent order of the Court.


                                                      /s/ Greg Kays
                                                     GREG KAYS, CHIEF JUDGE
                                                     UNITED STATES DISTRICT COURT

Dated: June 16, 2014




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